                          Case 3:24-cv-06266-JSC              Document 46   Filed 01/17/25     Page 1 of 20



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                    11                                     UNITED STATES DISTRICT COURT
                    12                                    NORTHERN DISTRICT OF CALIFORNIA
                    13                                        SAN FRANCISCO DIVISION

                    14    SARAH PERSONETTE, JAMES SULLIVAN,                   Case No. 3:24-cv-6266-JCS
                    15    and DALANA BRAND,
                                                                              DEFENDANTS’ REPLY IN SUPPORT
                    16                      Plaintiffs,                       OF MOTION TO DISMISS COUNT II
                                                                              OF PLAINTIFFS’ COMPLAINT
                    17             vs.

                    18    ELON MUSK, et al.,
                    19                      Defendants.
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                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC                   Document 46                 Filed 01/17/25                Page 2 of 20


                                                                        TABLE OF CONTENTS
                     1
                                                                                                                                                              Page
                     2
                         I.     INTRODUCTION .............................................................................................................. 1
                     3
                         II.    ARGUMENT ...................................................................................................................... 3
                     4
                                A.        Surcharge Is Not Available To Plaintiffs Because The Plan Is A Top Hat
                     5                    Plan, And Thus There Is No Underlying Breach of Fiduciary Duty ...................... 3

                     6                    1.         ERISA Is Agnostic As To Whether Top Hat Plans Are Welfare Or
                                                     Pension Plans, Or Both ............................................................................... 4
                     7                               a.         Top Hat Plans Need Not Be Pension Plans..................................... 4
                     8                               b.         The Plan Is Most Analogous To A Pension Plan, In Any
                                                                Event ............................................................................................... 7
                     9
                                          2.         The Plan Provides Deferred Compensation To Its Participants .................. 8
                    10                    3.         Defendants Need Not Show That Deferred Compensation Under
                    11                               The Plan Meets The Definition Under Section 409A ............................... 11
                                          4.         Plan Provisions Cannot Create ERISA Fiduciary Duties ......................... 12
                    12
                                B.        Plaintiffs Have Not Pleaded Facts To Support Their Requests For
                    13                    Additional Forms Of Equitable Relief .................................................................. 13
                    14                    1.         Plaintiffs Are Not Entitled To Restitution or Disgorgement .................... 13
                                          2.         Plaintiffs Failed To Plead the Elements Of Equitable Estoppel ............... 14
                    15
                         III.   CONCLUSION ................................................................................................................. 15
                    16

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                                                                                                      DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
                          Case 3:24-cv-06266-JSC                          Document 46                Filed 01/17/25               Page 3 of 20



                     1                                                      TABLE OF AUTHORITIES
                     2                                                                                                                                            Page(s)
                     3    Cases
                     4
                          Air Transp. Ass’n of Am. v. City & Cnty. of San Francisco,
                     5        992 F. Supp. 1149 (N.D. Cal. 1998), aff’d and remanded, 266 F.3d 1064 (9th
                              Cir. 2001) .................................................................................................................................. 6
                     6
                          Aldridge v. Regions Bank,
                     7       2024 WL 2819523 (E.D. Tenn. June 3, 2024) .......................................................................... 3
                     8    Boden v. St. Elizabeth Med. Ctr., Inc.,
                             404 F. Supp. 3d 1076 (E.D. Ky. 2019) ................................................................................... 12
                     9
                    10    Caldwell v. Musk, et al.,
                             2024 WL 4654272 (N.D. Cal. Nov. 1, 2024)................................................................ 2, 13, 14
                    11
                          California Hosp. Ass’n v. Henning,
                    12       770 F.2d 856 (9th Cir. 1985), amended, 783 F.2d 946 (9th Cir. 1986) .................................... 6
                    13    Callan v. Merrill Lynch & Co., Inc.,
                             2010 WL 3452371 (S.D. Cal. Aug. 30, 2010) .............................................................. 3, 10, 12
                    14

                    15    CIGNA Corp. v. Amara,
                             563 U.S. 421 (2011) .................................................................................................................. 3
                    16
                          Cinelli v. Sec. Pac. Corp.,
                    17       61 F.3d 1437 (9th Cir. 1995)................................................................................................... 12

                    18    Colburn v. Hickory Springs Mfg. Co.,
                             448 F. Supp. 3d 512 (E.D.N.C. 2020) ........................................................................... 3, 10, 12
                    19
                          Collazo v. Infonet Servs. Corp.,
                    20
                             2015 WL 13917163 (C.D. Cal. Apr. 8, 2015) .................................................................. 10, 12
                    21
                          Managing Directors’ Long Term Incentive Plan ex rel. Comm. v. Boccella,
                    22      2015 WL 2130876 (S.D.N.Y. May 6, 2015).................................................................... passim

                    23    Delaye v. Agripac, Inc.,
                             39 F.3d 235 (9th Cir. 1994)....................................................................................................... 7
                    24
                          Demery v. Extebank Deferred Comp. Plan (B),
                    25      216 F.3d 283 (2d Cir. 2000) .............................................................................................. 10, 12
                    26
                          Depot, Inc. v. Caring for Montanans, Inc.,
                    27       915 F.3d 643 (9th Cir. 2019)............................................................................................. 13, 14

                    28
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 BOCKIUS LLP
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                                                                                                                    DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
                                                                                                                      DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
                         DB1/ 154037973.8
                          Case 3:24-cv-06266-JSC                        Document 46               Filed 01/17/25              Page 4 of 20



                     1    Ditchey v. Mechanics Bank,
                             2016 WL 730290 (N.D. Cal., Feb. 24, 2016)............................................................................ 6
                     2
                          Duggan v. Hobbs,
                     3
                             99 F.3d 307 (9th Cir. 1996).............................................................................................. passim
                     4
                          Fort Halifax Packing Co., Inc., v. Coyne,
                     5       482 U.S. 1 (1987) ...................................................................................................................... 7

                     6    Gabriel v. Alaska Elec. Pension Fund,
                             773 F.3d 945 (9th Cir. 2014)..................................................................................... 3, 6, 13, 15
                     7
                          Gilliam v. Nevada Power Co.,
                     8        488 F.3d 1189 (9th Cir. 2007)................................................................................................... 5
                     9
                          Gobeille v. Liberty Mut. Ins. Co.,
                    10       577 U.S. 312 (2016) .................................................................................................................. 6

                    11    Greany v. W. Farm Bureau Life Ins. Co.,
                             973 F.2d 812 (9th Cir. 1992)............................................................................................. 14, 15
                    12
                          Great-W. Life & Annuity Ins. Co. v. Knudson,
                    13       534 U.S. 204 (2002) ................................................................................................................ 14
                    14
                          Grigg v. Griffith Co.,
                    15       2014 WL 109495 (E.D. Cal. Jan. 10, 2014).............................................................................. 9

                    16    Hughes Aircraft Co. v. Jacobson,
                             525 U.S. 432 (1999) ................................................................................................................ 10
                    17
                          Kramer v. Am. Elec. Power Exec. Severance Plan,
                    18       2023 WL 5177429 (S.D. Ohio Aug. 11, 2023) ............................................................... 6, 9, 10
                    19    Kurisu v. Svenhard Swedish Bakery Supp. Key Mgmt. Ret. Plan,
                    20       2021 WL 3271252 (N.D. Cal. July 30, 2021) ......................................................................... 13

                    21    Loper Bright Enters. v. Raimondo,
                             603 U.S. 369 (2024) .................................................................................................................. 5
                    22
                          Merrimon v. Unum Life Ins. Co. of Am.,
                    23       758 F.3d 46 (1st Cir. 2014) ..................................................................................................... 10
                    24    Metaxas v. Gateway Bank, F.S.B.,
                             2024 WL 3488247 (N.D. Cal. July 18, 2024) ........................................................................... 3
                    25

                    26    Modzelewski v. Resolution Tr. Corp.,
                            14 F.3d 1374 (9th Cir. 1994)............................................................................................... 9, 11
                    27
                          Mothe v. Mothe Life Ins. Co.,
                    28       2012 WL 1565290 (E.D. La. Apr. 30, 2012) ............................................................................ 4
MORGAN, LEWIS &
 BOCKIUS LLP
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  SAN FRANCISCO                                                                               - ii -            DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
                         DB1/ 154037973.8                                                                         DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
                          Case 3:24-cv-06266-JSC                         Document 46                Filed 01/17/25              Page 5 of 20



                     1    Pane v. RCA Corp.,
                             868 F.2d 631 (3rd Cir. 1989) .............................................................................................. 9, 11
                     2
                          Sharma v. Washington Metro. Area Transit Auth.,
                     3
                             58 F. Supp. 3d 59 (D.D.C. 2014) ............................................................................................ 13
                     4
                          Shull v. Ocwen Loan Servg., LLC,
                     5       2014 WL 1404877 (S.D. Cal. Apr. 10, 2014) ......................................................................... 13

                     6    Soule v. Ret. Income Plan for Salaried Emps. of Rexham Corp.,
                             723 F. Supp. 1138 (W.D. N.C. 1989) ..................................................................................... 11
                     7
                          U.S. v. Migi,
                     8       329 F.3d 1085 (9th Cir. 2003)................................................................................................... 4
                     9
                          Verizon Commc’ns Inc. v. Pizzirani,
                    10       462 F. Supp. 2d 648 (E.D. Pa. 2006) ...................................................................................... 10

                    11    Williams v. United Parcel Serv., Inc.,
                             2018 WL 6136824 (C.D. Cal. Sept. 4, 2018)...................................................................... 2, 13
                    12
                          Statutes
                    13
                          26 U.S.C. § 409A ...................................................................................................................... 9, 11
                    14
                          29 U.S.C. § 1002 .................................................................................................................... passim
                    15    29 U.S.C. § 1003(1) ........................................................................................................................ 7
                          29 U.S.C. § 1051(2) ........................................................................................................................ 8
                    16    29 U.S.C. § 1081(a)(3) .................................................................................................................... 8
                          29 U.S.C. § 1101 .................................................................................................................... passim
                    17    29 U.S.C. § 1102 ............................................................................................................................. 6
                          29 U.S.C. § 1104 ............................................................................................................................. 6
                    18
                          29 U.S.C. § 1106 ............................................................................................................................. 6
                    19    29 U.S.C. § 1109 ............................................................................................................................. 6
                          ERISA § 510, 29 U.S.C. § 1140 ........................................................................................... 1, 3, 14
                    20
                          Other Authorities
                    21
                          26 C.F.R. § 1.409A-1(b)(1)........................................................................................................... 11
                    22
                          29 C.F.R. § 2510-3.2 ................................................................................................................... 7, 8
                    23
                          1 ERISA Practice & Procedure § 2:5 .............................................................................................. 5
                    24

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                         DB1/ 154037973.8                                                                           DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
                          Case 3:24-cv-06266-JSC            Document 46         Filed 01/17/25      Page 6 of 20



                     1             Defendants Elon Musk, X Corp. (f/k/a Twitter, Inc.) and the Twitter, Inc. Change of Control

                     2    and Involuntary Termination Protection Policy (collectively, “Defendants”) provide the following

                     3    reply in support of Defendants’ Motion to Dismiss Count II of Plaintiffs’ Complaint (Dkt. 28):

                     4    I.       INTRODUCTION
                     5             Plaintiffs’ Opposition1 rehashes the circumstances of their for-cause terminations from

                     6    Twitter and airs general grievances about Defendants. Plaintiffs mischaracterize the record of their

                     7    misconduct in approving millions of dollars in sweetheart bonuses, engaging in corporate waste,

                     8    and violating Twitter’s policies, the merger agreement, and the acquiror’s directives. While

                     9    Defendants disagree with Plaintiffs’ mischaracterizations of the record, those allegations and
                    10    assertions are irrelevant to the Court’s consideration of whether Count II should be dismissed. It

                    11    remains true that Plaintiffs have not pleaded any basis for the equitable relief that they seek under

                    12    Count II for an alleged violation of ERISA § 510, 29 U.S.C. § 1140. Their Opposition does not

                    13    save Count II from dismissal.

                    14             Plaintiffs are not entitled to surcharge because the Plan is a “top hat” plan, top hat plans are

                    15    not subject to ERISA’s fiduciary standards, and Plaintiffs, therefore, cannot plead the necessary

                    16    element of fiduciary breach to support a surcharge claim. Plaintiffs argue that the Plan is not a top

                    17    hat plan because (1) the Plan is a welfare plan and only pension plans can be top hat plans, and (2)

                    18    it does not provide for deferred compensation. Plaintiffs are wrong. ERISA is agnostic as to

                    19    whether top hat plans are welfare or pension plans. 29 U.S.C. §1101(a)(1). ERISA only requires
                    20    that a top hat plan be “unfunded” and provide “deferred compensation for a select group of

                    21    management or highly compensated employees.” Id. That is what the Plan does. There is no

                    22    authority holding that only pension plans can be top hat plans. For good reason: Any such ruling

                    23    would violate the plain language of the top hat plan definition, which applies to any “plan which is

                    24    unfunded” and meets the above requirements. Id. (emphasis added). As Congress knew when it

                    25    enacted this language, ERISA specifically defines the word “plan” to mean “an employee welfare

                    26    benefit plan or an employee pension benefit plan or a plan which is both[.]” 29 U.S.C. § 1002(3)

                    27    (emphasis added). The Court should reject Plaintiffs’ attempt to rewrite ERISA.

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                              Plaintiffs’ Opposition to Defendants’ Motion (Dkt. 44) is referred to as “Opposition” or “Opp.”
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                          Case 3:24-cv-06266-JSC           Document 46        Filed 01/17/25      Page 7 of 20



                     1             Nor is there any question that the Plan provides deferred compensation. Plaintiffs do not

                     2    contest that the Plan is unfunded or covers a select group of management or highly compensated

                     3    employees. Opp. at 13. Plaintiffs only contest the “deferred compensation” element of the top hat

                     4    definition. Id. Deferred compensation is “additional compensation for services already rendered.”

                     5    Duggan v. Hobbs, 99 F.3d 307, 312 (9th Cir. 1996). The Plan provides that cash severance and

                     6    previously deferred equity awards will be paid no less than 61 days after termination and may be

                     7    deferred for another 6 months or more for certain individuals. Dkt. 1-2, ECF Page 2 & 5 of 11

                     8    (providing as an example of such additional deferral that “you will receive payment on the first

                     9    payroll date that occurs on or after the date that is 6 months and 1 day following your termination
                    10    of employment”). The deferred-equity awards, in particular, are the largest portion of severance

                    11    benefits provided under the Plan and involve immediate vesting of restricted stock unit (“RSUs”)

                    12    and performance-based awards (“PSUs”), which are, by definition, deferred compensation. The

                    13    Plan is a top hat plan, and Plaintiffs’ surcharge claim should be dismissed.

                    14             Likewise, Plaintiffs have not pleaded any basis for the other forms of equitable relief that

                    15    they seek under Count II. Plaintiffs did not respond to Defendants’ arguments concerning their

                    16    claims for front pay or equitable lien and have, thus, conceded their dismissal. See Williams v.

                    17    United Parcel Serv., Inc., 2018 WL 6136824, at *11 (C.D. Cal. Sept. 4, 2018). In support of their

                    18    claims for restitution and disgorgement, Plaintiffs try to distinguish their allegations from those

                    19    Judge Chesney recently dismissed in a materially identical case filed by another former Twitter
                    20    executive. See Caldwell v. Musk, et al., 2024 WL 4654272 (N.D. Cal. Nov. 1, 2024). Plaintiffs

                    21    claim, inexplicably, that the timing of their terminations renders their allegations different from

                    22    those in Caldwell (Opp. at 16), but the plaintiff in Caldwell was terminated on the same day as

                    23    Plaintiffs here. Plaintiffs also try to distinguish their allegations from those that Judge Chesney

                    24    dismissed in Caldwell by arguing the RSUs and PSUs at issue in Caldwell were funded and paid

                    25    differently than the equity awards Plaintiffs seek under their restitution and disgorgement claims in

                    26    this case. This is pure speculation and ignores that the allegations in Caldwell also included the

                    27    November 1, 2022 equity vest. Plaintiffs fail to plausibly allege any difference between their claims

                    28    and the claims that Judge Chesney dismissed in Caldwell, and their claims should also be dismissed.
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  SAN FRANCISCO
                         DB1/ 154037973.8
                          Case 3:24-cv-06266-JSC            Document 46        Filed 01/17/25      Page 8 of 20



                     1             Finally, Plaintiffs have not stated a claim for equitable estoppel because they have not

                     2    plausibly alleged, as they must, that Mr. Musk or X made any misrepresentations to them regarding

                     3    an ambiguous Plan term. Plaintiffs do not identify such a Plan term, and, instead, point to self-

                     4    serving allegations about communications that Plaintiffs claim to have had with unnamed Twitter

                     5    employees. Opp. at 20-21. In fact, Plaintiffs do not allege that Mr. Musk had any communications

                     6    with them aside from informing them of (1) an internal investigation at Twitter and (2) the

                     7    termination of their employment. Dkt. 1 at ¶¶ 70, 84. The Complaint is devoid of allegations that

                     8    would support equitable estoppel relief. Their Section 510 claim should be dismissed.

                     9    II.      ARGUMENT
                    10             A.       Surcharge Is Not Available To Plaintiffs Because The Plan Is A Top Hat Plan,
                                            And Thus There Is No Underlying Breach of Fiduciary Duty
                    11

                    12             Plaintiffs are not entitled surcharge because the Plan is a top hat plan, which is exempt from

                    13    ERISA’s fiduciary duties. Metaxas v. Gateway Bank, F.S.B., 2024 WL 3488247, at *5 (N.D. Cal.

                    14    July 18, 2024) (“as a ‘top-hat’ plan, the PLAN is exempted from ERISA fiduciary duties”); Callan

                    15    v. Merrill Lynch & Co., Inc., 2010 WL 3452371, at *9 (S.D. Cal. Aug. 30, 2010) (top hat plans are

                    16    not subject to fiduciary duties because these “plans only apply to highly paid executives” who “are

                    17    generally not in need of ERISA protection”); Colburn v. Hickory Springs Mfg. Co., 448 F. Supp.

                    18    3d 512, 527 (E.D.N.C. 2020) (“Congress intended to carve out the top hat exemption because [of]

                    19    ‘high-echelon employees’”). Fiduciary breach is a necessary element for obtaining surcharge relief
                    20    under ERISA. CIGNA Corp. v. Amara, 563 U.S. 421, 442 (2011) (“surcharge” is monetary relief

                    21    that might be “equitable” within the meaning of ERISA, but only when awarded to remedy “a

                    22    breach of trust committed by a fiduciary encompassing any violation of a duty imposed upon that

                    23    fiduciary”); Gabriel v. Alaska Elec. Pension Fund, 773 F.3d 945, 957-58 (9th Cir. 2014) (same);

                    24    Aldridge v. Regions Bank, 2024 WL 2819523, at *4 (E.D. Tenn. June 3, 2024) (top hat plans “are

                    25    exempt from ERISA’s substantive fiduciary requirement”). Where, as here, the Plan is a top hat

                    26    plan, Plaintiffs’ request for surcharge fails as a matter of law.

                    27             Plaintiffs contest that the Plan is a top hat plan under ERISA. Opp. at 6. The definition of

                    28    a top hat plan under ERISA is straightforward. A top hat plan is “a plan which is unfunded and is
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  SAN FRANCISCO
                         DB1/ 154037973.8
                          Case 3:24-cv-06266-JSC           Document 46          Filed 01/17/25     Page 9 of 20



                     1    maintained by an employer primarily for the purpose of providing deferred compensation for a

                     2    select group of management or highly compensated employees.” 29 U.S.C. § 1101(a)(1) (emphasis

                     3    added). Plaintiffs do not dispute that the Plan is unfunded or that it covers only a select group of

                     4    management or highly compensated employees. Opp. at 13 (“The Plan is not funded;” and “the

                     5    Plan was, according to Defendants, only offered to a select group of management or highly

                     6    compensated Twitter employees” without disputing this fact). Instead, Plaintiffs argue that the Plan

                     7    is not a top hat plan because (1) it is a welfare plan and only pension plans can be top hat plans,

                     8    and (2) the Plan does not provide for deferred compensation. Both arguments fail.

                     9                      1.    ERISA Is Agnostic As To Whether Top Hat Plans Are Welfare Or
                                                  Pension Plans, Or Both
                    10
                                                  a.     Top Hat Plans Need Not Be Pension Plans
                    11

                    12             ERISA defines a top hat plan to include any “plan which is unfunded” and meets other

                    13    stated requirements. 29 U.S.C. § 1101(a)(2) (emphasis added). The term “plan” under ERISA

                    14    means a welfare plan or a pension plan or a plan that is both. Id. § 1002(3). Thus, nothing in the

                    15    top hat plan definition remotely suggests that only a “pension plan” can be a top hat plan. Congress

                    16    took care to separately define, in succession, the term “welfare plan,” § 1002(1), then “pension

                    17    plan,” § 1002(2), and then finally the term “plan,” § 1002(3). Had Congress intended to provide

                    18    that only pension plans can be top hat plans, as Plaintiffs contend, then it would have used the

                    19    defined term “pension plan” in the top hat definition; instead, it chose to use the term “plan” and,
                    20    thus, plainly provided that top hat plans can be welfare plans, or pension plans, or plans that is both.

                    21    See 29 U.S.C. § 1101 (top hat definition); id. § 1002(3) (“plan” definition); U.S. v. Migi, 329 F.3d

                    22    1085, 1087 (9th Cir. 2003) (“[I]f Congress defines a term in a statute, that same definition applies

                    23    to the term in other parts of the same statute”).

                    24             Thus, while Plaintiffs make much of the fact that the Plan states that it is a welfare plan,

                    25    that has no bearing on whether the Plan qualifies as a top hat plan. Unsurprisingly, courts have

                    26    repeatedly recognized that welfare plans may also constitute top hat plans. See, e.g., Managing

                    27    Directors’ Long Term Incentive Plan ex rel. Comm. v. Boccella, 2015 WL 2130876, at *1

                    28    (S.D.N.Y. May 6, 2015) (“The Plan is a ‘top hat, unfunded,’ ‘employee welfare benefit plan as
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  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC           Document 46        Filed 01/17/25       Page 10 of 20



                     1    defined in and subject to ERISA;’ the Committee is ‘the Plan Administrator’ and ‘fiduciary of the

                     2    Plan’”); Mothe v. Mothe Life Ins. Co., 2012 WL 1565290, at *2 (E.D. La. Apr. 30, 2012)

                     3    (recognizing the existence of a “‘top hat’ welfare benefit plan under ERISA” and that employers

                     4    may “unilaterally terminate top hat welfare benefit plans”).

                     5             Undeterred, Plaintiffs argue that a footnote in Gilliam implies that only pension plans can

                     6    be top hat plans. Opp. at 6-7 (citing Gilliam v. Nevada Power Co., 488 F.3d 1189, 1193, n. 5 (9th

                     7    Cir. 2007)). Plaintiffs stretch Gilliam too far. The Ninth Circuit was not considering the scope of

                     8    the top hat definition, and the case involved a “non-qualified pension plan.” Id. at 1190. As a

                     9    result, the Ninth Circuit made only a passing reference to the top hat definition in a footnote,
                    10    indicating that top hat plans “represent a special category of ERISA [pension benefit plans.]” Id.

                    11    at 1193 n.5 (brackets in original). In doing so, the court merely paraphrased a cited secondary

                    12    source, which states that top hat plans “represent a special category of ERISA benefit plans that

                    13    provide compensation arrangements to a select group of management-level employees.” 1 ERISA

                    14    Practice & Procedure § 2:5, 2-16 to -17 (Clark Boardman Callaghan 2d ed. 2005) (emphasis added).

                    15    The source does not differentiate between welfare plans or pension plans or plans that are both

                    16    things. Id. Plainly, however, because the Ninth Circuit case involved only a pension plan, the

                    17    court’s use of the term “pension plan” simply reflected an intent not to speak more broadly than the

                    18    facts at hand. It certainly did not hold—or even have occasion to hold—that only pension plans

                    19    can be top hat plans.2 Id.
                    20             Plaintiffs also argue that, because top hat plans are exempt from ERISA’s funding

                    21    requirements, it follows that “top hat plans are a type of pension plan [only], because” ERISA’s

                    22    funding requirements do not apply to welfare plans. Opp. at 7. But this logic does not follow. By

                    23

                    24    2
                             Plaintiffs also cite a DOL website (https://www.dol.gov/agencies/ebsa/employers-and-
                    25    advisers/plan-administration-and-compliance/reporting-and-filing/e-file/tophat-plan-filing-
                          instructions) to support their argument that only pension plans can be top hat plans. This section is
                    26    simply a portal for submitting certain reporting forms and is not binding law. And, while the portal
                          refers to top-hat plans in the context of pension plans, it does not state that top-hat plans must be
                    27    pension plans. In any event, the DOL has no authority to redefine the top hat exemption in a manner
                          that is contrary to the plan language of ERISA even by regulation, let alone via website-posting.
                    28    See generally Loper Bright Enters. v. Raimondo, 603 U.S. 369 (2024).
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 BOCKIUS LLP                                                                             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
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  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC            Document 46        Filed 01/17/25       Page 11 of 20



                     1    definition, top hat plans must be unfunded, and thus the exemption from ERISA’s funding

                     2    requirements is necessary to ensure that pension plans can lawfully qualify as top-hat plans. That

                     3    a similar exemption is not required for welfare plans does not mean that welfare plans cannot be

                     4    top hat plans; it means only that the exemption is unnecessary.3 Simply put, the requirement that

                     5    top hat plans must be unfunded—and thus are exempt from any funding requirement—does not

                     6    suggest that top hat plans can only be pension plans. Plaintiffs’ argument also ignores that top hat

                     7    plans are exempt from many other ERISA requirements (e.g., plan establishment, fiduciary duties,

                     8    prohibited transactions, and fiduciary liability) to which all plans (i.e., pension plans, welfare plans,

                     9    and plans that are both) are otherwise subject. See 29 U.S.C. §§ 1101(a)(1), 1102, 1104, 1106,
                    10    1109. Plaintiffs’ argument doesn’t work.

                    11             Plaintiffs also claim that the district court in Ditchey v. Mechanics Bank, 2016 WL 730290,

                    12    at *3 (N.D. Cal., Feb. 24, 2016) held that a severance plan (like the Plan here) was a “welfare

                    13    benefit plan (and thus, not a top hat pension plan that provided for deferred compensation).” Opp.,

                    14    p. 12. Ditchey made no such holding. The decision begins with the simple statement that, “ERISA

                    15    applies to ‘employee welfare benefit plans’ which may include a severance plan.” Ditchey, 2016

                    16    WL 730290, p. *3 (emphasis added). The court did not hold that a severance plan must be a

                    17    “welfare plan,” only that it can be. Id. And this makes sense because ERISA expressly recognizes

                    18    that severance plans can be either welfare plans or pension plans. See 29 U.S.C. § 1002(2)(B)

                    19    (recognizing that “severance pay arrangements” can be pension plans or welfare plans, and
                    20    providing that the “Secretary [of Labor] may by regulation prescribe rules” to help determine into

                    21    which category a particular severance plan fits).

                    22             Ultimately, the best indication of what Congress intended is the plain language of ERISA.

                    23    3
                            Moreover, while welfare plans need not be funded, they often are funded, and this circumstance
                    24    would preclude application of the top-hat exemption. See, e.g., Gobeille v. Liberty Mut. Ins. Co.,
                          577 U.S. 312, 317 (2016) (“The Plan is self-insured and self-funded, which means that Plan benefits
                    25    are paid by [the plan sponsor]. The Plan, which qualifies as an ‘employee welfare benefit plan’
                          under ERISA”); California Hosp. Ass’n v. Henning, 770 F.2d 856, 862 (9th Cir. 1985), amended,
                    26    783 F.2d 946 (9th Cir. 1986) (ERISA “provisions that expressly mention the funded/unfunded
                    27    distinction with regard to certain welfare benefit plans”); Air Transp. Ass’n of Am. v. City & Cnty.
                          of San Francisco, 992 F. Supp. 1149, 1174 (N.D. Cal. 1998), aff’d and remanded, 266 F.3d 1064
                    28    (9th Cir. 2001) (“Plaintiffs note that ERISA’s definition of employee welfare benefit plans is not
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                          restricted to funded plans”).
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  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC           Document 46        Filed 01/17/25      Page 12 of 20



                     1    If Congress intended that only “pension plans” could qualify as top hat plans, then it would have

                     2    used the term “pension plan” in the top hat plan definition. But it didn’t. Instead, Congress defined

                     3    top hat plans to include any “plan which is unfunded” and provides “deferred compensation for a

                     4    select group of management or highly compensated employees.” Id. § 1101(a)(1) (emphasis

                     5    added). And ERISA defines “plan” to mean “an employee welfare benefit plan or an employee

                     6    pension benefit plan or a plan which is both.” 29 U.S.C. § 1002(3). Plaintiffs are effectively asking

                     7    the Court to rewrite the top hat plan definition by replacing the defined-term “plan” with a different

                     8    defined-term “pension plan.” The Court should decline that invitation.

                     9                            b.     The Plan Is Most Analogous To A Pension Plan, In Any Event
                    10             Even if top hat plans needed to be pension plans (they do not), the function of the Plan is

                    11    more analogous to a pension plan than a welfare plan. As noted above, within the definition of

                    12    “pension plan,” Congress directed the DOL to prescribe regulations for determining whether

                    13    “severance pay arrangements . . . shall . . . be treated as welfare plans rather than pension plans.”

                    14    29 U.S.C. § 1002(2)(B)(i). In other words, Congress contemplated that severance plans could be

                    15    either welfare plans or pension plans, and DOL regulations help determine which category applies.

                    16    29 C.F.R. § 2510.3-2(b)(1)(ii). Tellingly, Plaintiffs ignore these provisions.4

                    17             The definition of a pension plan under ERISA is a plan that provides retirement income to

                    18    employees, or “results in a deferral of income by employees for periods extending to the termination

                    19    of covered employment or beyond.” 29 U.S.C. § 1002(2)(A)(ii). The Plan’s benefits fit within that
                    20    definition. Id. A welfare plan, conversely, is “maintained for the purpose of providing for its

                    21    participants or their beneficiaries … (A) medical, surgical, or hospital care or benefits, or benefits

                    22    in the event of sickness, accident, disability, death or unemployment, or vacation benefits,

                    23    apprenticeship or other training programs, or day care centers, scholarship funds, or prepaid legal

                    24    services, or (B) any benefit described in section 186(c) of [ERISA].” 29 U.S.C. § 1003(1).

                    25    4
                           Plaintiffs’ reliance on Fort Halifax Packing Co., Inc., v. Coyne, 482 U.S. 1 (1987) and Delaye v.
                    26    Agripac, Inc., 39 F.3d 235 (9th Cir. 1994) is of no consequence. Those decisions reinforce that,
                          while welfare plans may include severance plans – e.g., “[p]rovisions for severance pay may
                    27    constitute an employee welfare plan …,” they do not have to. Opp. at p. 11 (emphasis added).
                          Moreover, even Plaintiffs contend that the severance plan the Ninth Circuit addressed in Duggan
                    28    was more akin to a pension plan than a welfare plan. See Opp. at 11.
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 BOCKIUS LLP                                                                            DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
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  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC           Document 46         Filed 01/17/25      Page 13 of 20



                     1             Pursuant to its authority under 29 U.S.C. § 1002(2)(B)(i), the DOL promulgated regulations

                     2    to help determine when severance plans will be treated as pension plans or welfare plans under

                     3    ERISA. See 29 C.F.R. § 2510.3-2. Under those regulations, severance plans will be treated as

                     4    welfare plans, as opposed to pension plans, when three factors are met: (i) the severance payments

                     5    are not directly or indirectly contingent on the employee retiring; (ii) the total amount of payments

                     6    does not exceed twice the employee’s annual compensation; and (iii) the payments under the plan

                     7    will be completed within two years of the employee’s termination of service (provided that the

                     8    termination was not part of a “program of terminations” as defined under the regulations). Id. If

                     9    any element is not satisfied, then the severance plan is presumptively a pension plan. Id.
                    10             Here, the severance benefits that Plaintiffs seek easily exceed twice their annual

                    11    compensation, so the Plan is not a welfare plan under the above regulation and is more akin to a

                    12    pension plan. Twitter’s public filings, of which the Court may take judicial notice, confirm that

                    13    Personette was paid a salary of $600,000 in 2021. Dkt. 29-3 (Schedule 14A), ECF Page 61. The

                    14    $17.6 million in severance benefits she claims under the Plan (Dkt. 1 ¶ 151), therefore, easily

                    15    doubles (in fact, it is almost 30 times) her annual pay. Although Sullivan’s and Brand’s salaries

                    16    are not similarly disclosed, considering that their claimed severance benefits of over $21 million

                    17    and $13 million, respectively, are ten to twenty times the $1 million salary paid to Twitter’s former

                    18    CEO (Parag Agrawal), Dkt. 29-3, ECF Page 60/89, there is no question that their claimed severance

                    19    benefits likewise exceed the threshold prescribed in the above regulation.5 Dkt. 1 ¶¶ 152, 153.
                    20                      2.   The Plan Provides Deferred Compensation To Its Participants
                    21             ERISA does not define what constitutes “deferred compensation” under its top hat rules.

                    22    See, e.g., 29 U.S.C. § 1051(2); 29 U.S.C. § 1081(a)(3); 29 U.S.C. § 1101(a)(1). So, courts look to

                    23    case law and regulatory guidance to determine what constitutes deferred compensation. See

                    24    Duggan, 99 F.3d at 311; Grigg v. Griffith Co., 2014 WL 109495, at *4 (E.D. Cal. Jan. 10, 2014).

                    25
                          5
                            “Annual compensation” under the regulations is limited to compensation that “was paid” to an
                    26    employee during the year. 29 C.F.R. § 2510-3.2(b)(2)(i). Twitter’s Schedule 14A identifies other
                    27    forms of compensation for Personette and some other executives in addition to salary—like
                          restricted stock—but there is no indication that those amounts were “paid” during the year. See,
                    28    e.g., Dkt. 29-3 at p. 73/89. To the contrary, the Schedule 14A provides that the stock awards would
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                          vest over 16 quarters beginning in November 2021. Id. at p. 66/89.
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  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC           Document 46        Filed 01/17/25     Page 14 of 20



                     1    Under that guidance, the definition of deferred compensation is straightforward; it is: “additional

                     2    compensation for services already rendered.” Duggan, 99 F.3d at 312. The Plan provides deferred

                     3    compensation under this standard.

                     4             Plaintiffs say that they “relied on their severance plan benefits in remaining with the

                     5    company through a tumultuous acquisition, which was the very intent of the plan[.]” Opp. at 1.

                     6    Meaning, the compensation that Plaintiffs hoped to receive under the Plan was compensation that

                     7    Plaintiffs understood would be paid, if at all, after their employment with Twitter ended and for

                     8    services already rendered. Id. Contrary to Plaintiffs’ characterization of Plan payments as

                     9    “immediate,” participants had to wait at least 61 days after termination to receive their benefits,
                    10    and those payments could be further deferred by 6 months or more. Opp. at 12; see also Dkt. 1-2,

                    11    ECF Pages 2 & 5 of 11 (“Deferred Payments will be delayed to the extent necessary to avoid the

                    12    imposition of the additional tax imposed under Section 409A, which generally means that you will

                    13    receive payment on the first payroll date that occurs on or after the date that is 6 months and 1 day

                    14    following the termination of your employment”).

                    15             Plaintiffs’ attempt to distinguish Duggan falls short. Opp. at 10-12. Duggan is directly on

                    16    point and held that the severance payments “are deferred compensation because they provide

                    17    compensation for services substantially after the services were rendered.” Duggan, 99 F.3d at 311.

                    18    The same is true here, where Plaintiffs’ severance benefits are “Deferred Payments” comprised of

                    19    cash and the value of deferred equity awards granted during prior years of their employment. See
                    20    id. (“Duggan did not receive it until well after he rendered most of the services for which he was

                    21    being compensated”); Modzelewski v. Resolution Tr. Corp., 14 F.3d 1374, 1377 n. 3 (9th Cir. 1994);

                    22    Pane v. RCA Corp., 868 F.2d 631, 637 (3rd Cir. 1989); Kramer v. Am. Elec. Power Exec. Severance

                    23    Plan, 2023 WL 5177429, at *1 (S.D. Ohio Aug. 11, 2023) (a plan that “provide[d] a select group

                    24    of employees with severance benefits if their employment is involuntarily terminated” provided

                    25    deferred compensation and was a top hat plan).

                    26             Plaintiffs’ argument that the payments in Duggan are different from the payments in this

                    27    case also misses the mark. The benefits allegedly owed here were to be paid well after Plaintiffs’

                    28    employment ended, as were the payments in Duggan. Id. Whether the benefits were paid 61 days,
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 ATTORNEYS AT LAW                                                         -9-            DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC           Document 46       Filed 01/17/25      Page 15 of 20



                     1    6 months, 6 years, or longer after Plaintiffs’ employment ended is beside the point. See Merrimon

                     2    v. Unum Life Ins. Co. of Am., 758 F.3d 46, 58–59 (1st Cir. 2014) (“It is clear beyond hope of

                     3    contradiction that sponsors of ERISA plans have considerable latitude in plan design, including the

                     4    establishment of methods for paying benefits”) (citing Hughes Aircraft Co. v. Jacobson, 525 U.S.

                     5    432, 444 (1999)).      Duggan did not impose some definitive timeline beyond employment-

                     6    termination when severance must be paid to be “deferred compensation” within the meaning of the

                     7    top hat exemption. 99 F.3d at 312. Nor did Duggan address Deferred Payments like those here

                     8    which involve accelerated vesting and payment of equity awards (e.g., RSUs and others) from prior

                     9    years of employment, which courts regularly treat as deferred compensation. Id.
                    10             Plaintiffs’ attempt to distinguish Demery v. Extebank Deferred Comp. Plan (B), 216 F.3d

                    11    283, 285 (2d Cir. 2000), Colburn, 448 F. Supp. 3d at 518-19, 523-28; and Collazo v. Infonet Servs.

                    12    Corp., 2015 WL 13917163 (C.D. Cal. Apr. 8, 2015) is also misplaced. Opp., pp. 12-13. Defendants

                    13    cited these cases only to show that the Plan’s participants satisfied the “select group of management

                    14    or highly compensated employees” (Motion, pp. 8-9), an element of the top hat plan definition

                    15    Plaintiffs do not contest. See Section II(A), supra. In any event, none of these cases contains any

                    16    reasoning or holding suggesting that the Plan here does not provide deferred compensation, nor do

                    17    Plaintiff identify any. Id. Plaintiffs also argue that Callan, 2010 WL 3452371, is distinguishable

                    18    because the plan there did not provide a “retirement purpose and systematically provide for deferred

                    19    income.” Id. But the quote that Plaintiffs cite in their Opposition pertained to whether the plan at
                    20    issue was even governed by ERISA in the first place, not whether it qualified as a top hat plan. Id.

                    21             Equally unavailing is Plaintiffs’ argument that there was no agreement between Twitter and

                    22    Plaintiffs to defer compensation because severance “benefits were not owed or payable unless the

                    23    contingencies occurred.” Opp. at 10-11. Plaintiffs ignore that a significant portion of the Deferred

                    24    Payments provided under the Plan involve RSUs and other performance-based equity awards. Dkt.

                    25    1-2, ECF at Pages 2 & 10, of 11. These sorts of deferred equity awards are considered deferred

                    26    compensation in their own right. See Dkt. 1-2 at ECF Page 2 of 9; Verizon Commc’ns Inc. v.

                    27    Pizzirani, 462 F. Supp. 2d 648, 652 (E.D. Pa. 2006) (“RSUs and PSUs are units of deferred

                    28    compensation that an employee may redeem after a vesting period”); Soule v. Ret. Income Plan for
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 BOCKIUS LLP                                                                           DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
 ATTORNEYS AT LAW                                                        - 10 -          DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC            Document 46         Filed 01/17/25     Page 16 of 20



                     1    Salaried Emps. of Rexham Corp., 723 F. Supp. 1138, 1141–42 (W.D. N.C. 1989) (“Performance

                     2    units provide for the Company to pay the employee compensation at a future date”). Regardless,

                     3    that deferred compensation is only paid if certain contingencies are satisfied—like not being

                     4    terminated for cause—is a common feature of both severance plans and top hat plans. See Duggan,

                     5    99 F.3d at 311; Pane, 868 F.2d at 637; Modzelewski, 14 F.3d 1374, 1377 n. 3. The existence of

                     6    contingencies for payment of severance does not impact the analysis.

                     7                      3.    Defendants Need Not Show That Deferred Compensation Under The
                                                  Plan Meets The Definition Under Section 409A
                     8

                     9             Plaintiffs’ strained arguments regarding 26 U.S.C. § 409A of the Internal Revenue Code
                    10    (“Section 409A”) do not advance their cause, either. Opp. at 9. Section 409A governs tax issues

                    11    that arise in the context of deferred compensation; it dictates whether deferred compensation is

                    12    subject to tax penalties depending on the manner and timing of payment. 26 U.S.C. § 409A. To

                    13    be sure, the top hat definition is not limited to “deferred compensation” within the meaning of

                    14    Section 409A. Id. Even so, that the Plan here expressly provides that its Deferred Payments will

                    15    be paid in a manner designed to avoid adverse tax consequences under Section 409A reinforces

                    16    that those payments are deferred compensation in the first instance.

                    17             Plaintiffs try to brush the Plan’s Section 409A language under the rug, arguing that “all this

                    18    language does is say that the plan sponsor is aware of Section 409A[.]” Opp. at 9. Plaintiffs are

                    19    mistaken. Under Section 409A, a “plan provides for the deferral of compensation” that may be
                    20    subject to tax penalties, if it gives an employee “a legally binding right during a taxable year to

                    21    compensation that, pursuant to the terms of the plan, is or may be payable . . . in a later taxable

                    22    year.” 26 C.F.R. § 1.409A-1(b)(1) (emphasis added). The Plan does that here, as Plaintiffs’ own

                    23    claims confirm: Plaintiffs claim they had “a legally binding right” to severance benefits under the

                    24    Plan in November 2022 when they were terminated, and that those severance benefits were to be

                    25    paid to them no earlier than 61 days later in January 2023—i.e., “in a later taxable year.” Id.

                    26    Contrary to Plaintiffs’ assertions, the Plan’s Section 409A language serves an important purpose:

                    27    To ensure that the deferred compensation it provides is paid at a time and in a manner that does not

                    28    trigger adverse tax consequences for participants.
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 BOCKIUS LLP                                                                             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
 ATTORNEYS AT LAW                                                          - 11 -          DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC             Document 46      Filed 01/17/25      Page 17 of 20



                     1                      4.    Plan Provisions Cannot Create ERISA Fiduciary Duties

                     2             Finally, it makes no difference that the Plan contemplates an administrator “subject to the

                     3    fiduciary standards of ERISA when acting in such capacity.” Opp. at 3, 6 (citing Dkt. 1-1, ECF

                     4    Page 6 of 11; Ex. A-C). This provision merely provides that the designated Plan administrator is

                     5    subject to fiduciary standards to the extent those standards apply under ERISA. Id. And ERISA’s

                     6    “fiduciary standards” do not apply if the Plan is a top hat plan—a determination that is not always

                     7    clear cut and counsels in favor of drafting plan language to cover multiple possibilities. In any

                     8    event, Courts routinely reject arguments, like Plaintiffs’ here, that plan language dictates whether

                     9    and to what extent ERISA’s fiduciary duty or other requirements apply. See, e.g., Cinelli v. Sec.

                    10    Pac. Corp., 61 F.3d 1437, 1443 (9th Cir. 1995) (ERISA determines when its provisions apply

                    11    because “the intent to create a plan is not enough”) (citing Watkins v. Westinghouse Hanford Co.,

                    12    12 F.3d 1517 (9th Cir. 1993)).6

                    13             Plan language cannot trump the text of ERISA. That is why courts in similar contexts—

                    14    namely, claimed fiduciary status under ERISA-exempt “church plans”—have rejected arguments

                    15    that plan language can impose ERISA fiduciary duties on the administrators of plans that are

                    16    otherwise exempt from ERISA’s fiduciary requirements.7 See, e.g., Boden v. St. Elizabeth Med.

                    17    Ctr., Inc., 404 F. Supp. 3d 1076, 1085, 1094 (E.D. Ky. 2019) (dismissing ERISA breach of

                    18    fiduciary duty claim even where the “Plan document indicates that … ‘The Committee shall be the

                    19    plan administrator and the named fiduciary of the plan’” because the plan was a Church plan so

                    20    “the requirements of ERISA do not apply”); Sharma v. Washington Metro. Area Transit Auth., 58

                    21    F. Supp. 3d 59, 64 (D.D.C. 2014) (“Plaintiff offers no justification for challenging the authorities

                    22    6
                           In a footnote, Plaintiffs argue that Twitter did not file a Top Hat Plan registration with the DOL.
                    23    Opp. at 8, n. 2. But whether or not Twitter filed a document that top hat plans are directed to file
                          does not dictate whether the plan is a top hat plan in the first place. Demery, 216 F.3d at 290
                    24    (concluding the plan was a top hat plan, despite the fact that “defendants failed to file registration
                          statements … with the Department of Labor and the Internal Revenue Service for ten years”).
                    25    7
                            Plaintiffs cite three cases from Defendants’ Motion that they claim show that the Plan’s language
                    26    is important in determining what type of plan is at issue. See Opp. at 8 (citing Collazo v. Infonet
                          Servs. Corp., 2015 WL 13917163, at *1 (C.D. Cal. Apr. 8, 2015); Colburn v. Hickory Springs Mfg.
                    27    Co., 448 F. Supp. 3d 512, 523 (E.D. N.C. 2020); and Callan v. Merrill Lynch & Co., Inc., 2010 WL
                          3452371, at *12 (S.D. Cal. Aug. 30, 2010). None of these cases hold that use of fiduciary language
                    28    in a plan means the plan cannot be a top hat plan.
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 BOCKIUS LLP                                                                            DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
 ATTORNEYS AT LAW                                                         - 12 -          DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC             Document 46         Filed 01/17/25       Page 18 of 20



                     1    that have held that the [plan] is not subject to ERISA,” and thus rejecting “plaintiff’s [fiduciary

                     2    breach] ERISA claims” where plan conferred fiduciary authority on an administrative committee).8

                     3             B.       Plaintiffs Have Not Pleaded Facts To Support Their Requests For Additional
                                            Forms Of Equitable Relief
                     4

                     5             Plaintiffs failed to plausibly allege that they are entitled to the other forms of equitable relief

                     6    sought in their Complaint. Plaintiffs do not respond to Defendants’ Motion to Dismiss their claims

                     7    for front pay or equitable lien, so they have waived their right to seek those forms of relief.

                     8    Williams, 2018 WL 6136824, at *11; Shull v. Ocwen Loan Servg., LLC, 2014 WL 1404877, at *2

                     9    (S.D. Cal. Apr. 10, 2014). Plaintiffs’ Opposition does not save their remaining claims for
                    10    restitution, disgorgement, or equitable estoppel from dismissal.

                    11                      1.     Plaintiffs Are Not Entitled To Restitution or Disgorgement
                    12             Plaintiffs have not sufficiently pleaded facts to support claims for restitution or

                    13    disgorgement. While they acknowledge that Judge Chesney dismissed nearly identical claims in

                    14    Caldwell v. Musk, Plaintiffs argue that they are different because they have alleged additional facts

                    15    that were absent in Caldwell. Opp. at 16. They are incorrect.

                    16             Plaintiffs do not dispute that restitution in equity is available only “where money or property

                    17    identified as belonging in good conscience to the plaintiff could clearly be traced to particular funds

                    18    or property in the defendant’s possession.” Gabriel, 773 F.3d at 954-55; Depot, Inc. v. Caring for

                    19    Montanans, Inc., 915 F.3d 643, 663 (9th Cir. 2019); Caldwell, 2024 WL 4654272, at *3. They do
                    20    not dispute that disgorgement is a form of restitution “measured by the defendant’s wrongful gain

                    21    rather than by the plaintiff’s loss.” Depot, 915 F.3d at 663 (internal quotations and citation

                    22    omitted). Or, that equitable disgorgement is only “available when the plaintiff is entitled to a

                    23    constructive trust on particular property held by the defendant that allows the plaintiff to recover

                    24    profits produced by the defendant’s use of that property.” Id. (quoting Great-W. Life & Annuity

                    25    8
                            Plaintiffs’ citations to the sister Agrawal, Caldwell, and Kaiden cases are irrelevant because the
                    26    top hat issue was not briefed or considered in those cases. Opp. at p. 14. And Plaintiffs’ citation
                          to Kurisu v. Svenhard Swedish Bakery Supp. Key Mgmt. Ret. Plan, 2021 WL 3271252, at *10 (N.D.
                    27    Cal. July 30, 2021) is similarly unhelpful to their claims. Opp. at 15. Kurisu involved factual
                          questions about whether the plan covered a select group of employees. Kurisu, 2021 WL 3271252,
                    28    at *10. No such questions exist in this case. Opp. at 13.
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 BOCKIUS LLP                                                                                DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
 ATTORNEYS AT LAW                                                            - 13 -           DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT
  SAN FRANCISCO
                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC            Document 46        Filed 01/17/25       Page 19 of 20



                     1    Ins. Co. v. Knudson, 534 U.S. 204, 214 n.2 (2002)) (emphasis added). Plaintiffs have not plausibly

                     2    alleged that any particular property allegedly owed to them is clearly traceable to Mr. Musk or X

                     3    Corp. Dkt. 1, generally.

                     4             Plaintiffs claim that, based on the alleged timing of their termination, the Court should infer

                     5    that the payments allegedly due to Plaintiffs under the Plan are clearly traceable to funds or property

                     6    in X Corp’s possession: “Given the timing at issue, the Complaint supports an inference that such

                     7    payments had been set aside and scheduled to payment to specific individuals.” Opp. at 17. This

                     8    is pure speculation, and it makes no sense. Nor does the timing of Plaintiffs’ termination somehow

                     9    distinguish their claims for equitable relief from those that were rejected in Caldwell. Here,
                    10    Plaintiffs allege that they were terminated on November 27, 2022 (see Dkt. 1, ¶¶ 8-10), the same

                    11    day as the plaintiff in Caldwell. 2024 WL 4654272, at *2. If the timing of the plaintiff’s

                    12    termination in Caldwell did not impact the equitable relief analysis in that case, there is no reason

                    13    the same timing should do so here.            Further, Plaintiffs argue that their claims are also

                    14    distinguishable from Caldwell because their allegations are based on a “different category of

                    15    payments.” Opp. at 17. This ignores that the plaintiffs in Caldwell sought restitution and

                    16    disgorgement based on the same November 1, 2022 equity vest that Plaintiffs identify here. See

                    17    Caldwell, 2024 WL 4654272, at *2 (“[A]ccording to Caldwell, X failed to ‘vest’ shares to which,

                    18    under the Award Agreement, he was entitled as of November 1, 2022[.]”). In any event, whether

                    19    the equity at issue was subject to vesting under the Plan or not, would have no impact on how the
                    20    equity was funded. Plaintiffs allege nothing to the contrary.

                    21                      2.    Plaintiffs Failed To Plead the Elements Of Equitable Estoppel
                    22             Defendants have found no authority, and Plaintiffs cite none, that would allow Plaintiffs to

                    23    seek equitable estoppel under an ERISA § 510 claim. On this basis, Plaintiffs’ request for equitable

                    24    estoppel should be dismissed. In any event, among other requirements, to state a claim for equitable

                    25    estoppel under ERISA, a plaintiff must plausibly allege that the defendant made a misrepresentation

                    26    to them regarding an ambiguous Plan term. Greany v. W. Farm Bureau Life Ins. Co., 973 F.2d

                    27    812, 822 n.9 (9th Cir. 1992); Gabriel, 773 F.3d at 955. Plaintiffs make no such allegation here.

                    28             Plaintiffs claim that Defendants made misrepresentations to them by communicating that
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 BOCKIUS LLP                                                                             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
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                         DB1/ 154037973.8
                         Case 3:24-cv-06266-JSC            Document 46         Filed 01/17/25       Page 20 of 20



                     1    Twitter was in the process of providing salary and benefits prior to their termination. Opp. at 18

                     2    (citing Dkt. 1, ¶ 79). Defendants disagree, but Plaintiffs misread the authority governing equitable

                     3    estoppel, which requires that the ambiguity and alleged misrepresentations concern an ambiguous

                     4    plan term. Greany, 973 F.2d at 822, n. 9. Plaintiffs’ references to general misrepresentations that

                     5    they claim were made to them “regarding their ongoing employment during November 2022 and

                     6    their entitlement to Plan benefits” do not involve statements about any allegedly ambiguous Plan

                     7    terms. Opp. at 18-20. This alone dooms Plaintiffs’ estoppel theory.

                     8              Likewise, Plaintiffs’ argument that they have alleged the type of “extraordinary”

                     9    circumstances that would entitle them to equitable estoppel falls short. Opp. at 21; Gabriel, 773
                    10    F.3d at 957. The types of extraordinary circumstances that warrant equitable estoppel relief are,

                    11    for example, where an employer intends to induce action or forbearance by the employee and seeks

                    12    to profit at the employees’ expense. Id. While it is unclear who Plaintiffs contend allegedly made

                    13    misrepresentations to them, there are no allegations that Mr. Musk or X made them, let alone with

                    14    intent to induce Plaintiffs to act or fail to act in some way. Dkt. 1, generally. In fact, Plaintiffs do

                    15    not allege that Mr. Musk ever communicated with them at all, other than to send letters that asked

                    16    Personette and Brand to participate in an internal investigation and to terminate Plaintiffs’

                    17    employment with Twitter. Dkt. 1, ¶¶ 70, 84. For this reason, too, Plaintiffs’ estoppel theory fails.9

                    18    III.      CONCLUSION
                    19              For the foregoing reasons, Defendants respectfully request that their Motion to Dismiss be
                    20    granted, and Plaintiffs’ Count II dismissed, with prejudice.

                    21        Dated: January 17, 2025                    MORGAN, LEWIS & BOCKIUS LLP
                    22
                                                                         By /s/ Christopher Boran
                    23                                                         Christopher Boran (admitted pro hac vice)
                    24                                                   Attorneys for Defendants
                    25

                    26

                    27    9
                           Plaintiffs appear to assert that they do not need to meet the “additional requirements” for equitable
                    28    estoppel under ERISA as enumerated in Gabriel, 773 F.3d at 955 (see Opp. at 21, fn. 5). Gabriel
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                          is binding precedent, and each of the elements identified in Gabriel must be satisfied.
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